       Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 1 of 33



 Robert L. Stepans                Matthew L. Merrill (appearing pro hac vice)
 Ryan R. Shaffer                  Merrill Law, LLC
 James C. Murnion                 1401 Delgany St. #404
 Victoria K.M. Gannon             Denver, CO 80202
 Meyer, Shaffer & Stepans, PLLP   Tel: (303) 947-4453
 430 Ryman Street                 matthew@merrillwaterlaw.com
 Missoula, MT 59802
 Tel: (406) 543-6929
 Fax: (406) 721-1799
 rob@mss-lawfirm.com
 ryan@mss-lawfirm.com
 james@mss-lawfirm.com
 katy@mss-lawfirm.com

 Attorneys for Plaintiffs

                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION

TRACY CAEKAERT, and CAMILLIA            )
MAPLEY,                                 )   Case No. CV-20-52-BLG-SPW
                                        )
                    Plaintiffs,         )      PLAINTIFFS’ BRIEF IN
      vs.                               )   RESPONSE TO DEFENDANTS
                                        )   WTNY’S AND WTPA’S JOINT
WATCHTOWER BIBLE AND TRACT              )     MOTION FOR PARTIAL
SOCIETY OF NEW YORK, INC., and          )     SUMMARY JUDGMENT
WATCH TOWER BIBLE AND TRACT                  PURSUANT TO FED. R. CIV.
                                        )
SOCIETY OF PENNSYLVANIA.,                        P. 56 (ECF NO. 302)
                                        )
                                        )
                    Defendants,
                                        )

///

///

///
         Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 2 of 33



                                         TABLE OF CONTENTS

SUMMARY OF PLAINTIFFS’ NEGLIGENCE PER SE CLAIMS .......................1
STANDARD ON SUMMARY JUDGMENT...........................................................2
LAW APPLYING TO PLAINTIFFS’ NEGLIGENCE PER SE CLAIMS ..............3
        1. Negligence per se in Montana .....................................................................3

        2. Corporate principals are vicariously liable for the negligent conduct of
           their agents. .................................................................................................5

ARGUMENT .............................................................................................................6
  I. The MRS is a proper statute for negligence per se............................................6
     a. The MRS is the type of statute endorsed by the Montana Supreme Court for
        use in a negligence per se claim. ....................................................................6
     b. The reasoning in Doyle does not apply to the MRS because it does not
        include enforcement provisions when a person fails to report known abuse.8
     c. Defendants are asking this Court to apply law unrelated to negligence per se
        to Plaintiffs’ negligence per se claim. ..........................................................10

  II. Defendants can be held vicariously liable for the negligence per se of their
      designated agents in Montana..........................................................................12
     a. If Plaintiffs prove that Defendants’ Montana clergy were negligent per se
        for violating the MRS that negligence is imputed as a matter of law to the
        Defendants. ...................................................................................................13

     b. Violations of the MRS by Defendants’ Montana clergy is imputed to the
        Defendants. ...................................................................................................15

     c. The MRS regulated Defendants through their agents. .................................16
     d. Cooper does not apply because Defendants’ Montana clergy chose not to
        report Hain and Mapley, Sr. at the direction of the Defendants. .................18

     e. Duties owed to the Plaintiffs under the MRS...............................................19
     f. The statute reviving Plaintiffs’ claims has no bearing on the question before
        the Court. ......................................................................................................20
  Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                      Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                            i
         Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 3 of 33



  III. Defendants’ Proximate Cause Argument Is Not a Valid Basis for Summary
       Judgment. ........................................................................................................22

     a. Defendants’ Montana Clergy Had a Reason to Report Hain under the MRS
        no later than 1976 .........................................................................................22

  IV. Additional Basis to Deny Defendants’ Motion ..............................................23

     a. Defendants are not entitled to withhold material evidence and make
        arguments for dispositive relief implicating that evidence. .........................24

     b. Defendants sanctionable conduct, including spoliation of evidence. ..........25

CONCLUSION ........................................................................................................25




  Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                      Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                            ii
         Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 4 of 33



                                     TABLE OF AUTHORITIES

Cases
Albino v. Baca,
  747 F.3d 1162 (9th Cir. 2014) (en banc) ................................................................2
Anderson v. Liberty Lobby,
 477 U.S. 242 (1986) ................................................................................................3
Bittaker v. Woodford,
  331 F.3d 715 (9th Cir. 2003)................................................................... 23, 24, 25

Cannon v. Univ. of Chicago,
 441 U.S. 677 (1979) ..............................................................................................10

Conway v. Monidah Tr. Co.,
 132 P. 26 (Mont. 1913) .................................................................................. 4, 7, 8

Cooper Clinic, P.A. v. Barnes,
 237 S.W.3d 87 (Ark. 2006)...................................................................................18

Craig v. Schell,
 975 P.2d 820 (1999)..............................................................................................22

Daly v. Swift 7 Co.,
 300 P. 265 (Mont. 1931) .......................................................................................13

Dick Irvin Inc. v. State,
 310 P.3d 524 (Mont. 2013) ...................................................................... 14, 15, 20

Doyle v Clark,
 254 P.3d 570 (Mont. 2011) ...................................................................... 7, 8, 9, 10

Essex Ins. Co. v. Moose's Saloon, Inc.,
 166 P.3d 451 (Mont. 2007) ...................................................................................10

Estate of Schwabe v. Custer's Inn,
 15 P.3d 903 (Mont. 2000) .......................................................................................4

Faust v. Util. Sols., LLC,
 173 P.3d 1183 (Mont. 2007) .................................................................................11

  Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                      Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                         iii
         Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 5 of 33



Frlekin v. Apple, Inc.,
 979 F.3d 639 (9th Cir. 2020) ..................................................................................2

Giambra v. Kelsey,
 162 P.3d 134 (Mont. 2007) .................................................................................3, 4

H-D Irrigating, Inc. v. Kimble Properties, Inc.,
 8 P.3d 95 (Mont. 2000) .................................................................. 5, 12, 14, 15, 20

In re Agric. Research and Tech. Group, Inc.,
  916 F.2d 528 (9th Cir. 1990) ..................................................................................3

Kornec v. Mike Horse Mining & Milling Co.,
 180 P.2d 252 (Mont. 1947) ...............................................................................6, 13

L.B. v. United States,
  515 P.3d 818 (Mont. 2022) .....................................................................................5
Larson v. State By and Through Stapleton,
 434 P.3d 241 (Mont. 2019) ............................................................................ 10, 11
Lee v. Detroit Medical Center,
  775 N.W.2d 326 (Mich. 2009)..............................................................................19
Maki v. Anaconda Copper Mining Co.,
 287 P. 170 (Mont. 1930) .......................................................................................13
Mark Ibsen, Inc. v. Caring for Montanans, Inc.,
 371 P.3d 446 (Mont. 2016) ...................................................................................10
Maryland Casualty Co. v. Asbestos Claims Court,
 460 P.3d 882 (Mont. 2020) ...................................................................................21

May Dept. Store v. Graphic Process Co.,
 637 F.2d 1211 (9th Cir. 1980) ................................................................................2
Nehring v. LaCounte,
 712 P.2d 1329 (Mont. 1986) ...................................................................................5
Palmer v. Great N. Ry. Co.,
 170 P.2d 768 (Mont. 1946) ...................................................................................17


  Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                      Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                       iv
         Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 6 of 33



Peterson v. Great Falls Sch. Dist. No. 1 & A, Cascade Cnty., Mont.,
 773 P.2d 316 (Mont. 1989) .................................................................. 5, 14, 15, 20

Real v. Driscoll Strawberry Assocs.,
 603 F.2d 748 (9th Cir. 1979) ..................................................................................2

Schultz v. Brown,
  256 F. 187 (9th Cir. 1919).......................................................................................6

SJL of Montana Assocs. Ltd. P’ship. v. City of Billings,
  867 P.2d 1084 (1993)............................................................................................17

Staff v. Montana Petroleum Co.,
  291 P. 1042 (Mont. 1930) .....................................................................................13

Stricker v. Blaine Cnty.,
  453 P.3d 897 (Mont. 2019) ...................................................................... 14, 15, 19

Strzelczyk v. Jett,
  870 P.2d 730 (Mont. 1994) ...................................................................................20
VanLuchene v. State,
 797 P.2d 932 (Mont. 1990) .................................................................................3, 5
Wombold v. Associates Fin. Services Co. of Montana, Inc.,
 104 P.3d 1080 (Mont. 2004) .......................................................................... 10, 12

Statutes
Montana Code Annotated
 § 1-1-201 (1976) ...................................................................................................17

  § 27-2-216(3) ........................................................................................................20
  § 28-10-602 ........................................................................................ 12, 14, 15, 19

  § 28-10-602(1) ..................................................................................................5, 16

  § 28-10-602(2) ..................................................................................................5, 16
  § 75-10-542(3) ........................................................................................................9



  Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                      Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                           v
          Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 7 of 33




Revised Codes of Montana
 § 10-1303 ................................................................................................................1

  § 10-1304 (1977).................................................................................... 1, 8, 17, 20
  § 10-1305 ..............................................................................................................10

  § 10-1310 ..............................................................................................................10

  § 10-1315 ..............................................................................................................10

  §§ 10-1301–1322 ................................................................................................8, 9
Other Authorities

Black's Law Dictionary 1057 (Bryan A. Garner ed., 7th ed., West 1999) ................3
Keeton, The Law of Torts § 36, at 230.......................................................................4
Manual of Model Civil Jury Instructions, 4.2 Liability of Corporations – Authority
 Not in Issue .................................................................................................... 14, 17
Mont. Pattern Instruction 2d 10.03 ......................................................... 5, 14, 15, 19
Recycling and Disposal Act .......................................................................................9

Restatement (Second) of Agency§ 218 .....................................................................5




  Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                      Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                            vi
       Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 8 of 33



       Plaintiffs submit the following Brief in Response to Defendants Watchtower

Bible and Tract Society of New York, Inc.’s (WTNY) and Watch Tower Bible and

Tract Society of Pennsylvania’s (WTPA) Motion for Partial Summary Judgment

(Motion) on Plaintiffs’ negligence per se claims (ECF No. 302).

      SUMMARY OF PLAINTIFFS’ NEGLIGENCE PER SE CLAIMS
       Through October of 1979, Montana’s mandatory reporting statute (MRS)

required any person who had reason to believe that a minor was being sexually

abused to report those reasons to the Montana department of social and

rehabilitation services. R.C.M. § 10-1304 (1977) (chapter attached for the Court’s

convenience as Ex. A). The explicit purpose of the MRS was to protect the health

and welfare of children who had been abused. R.C.M. § 10-1303.

       Contrary to this statutory duty, the Defendants trained and instructed their

Montana clergy, known as elders, to keep known sexual abuse of children quiet so

that it would not be reported to government authorities. The Defendants’ training

and instruction was enforced by the admonition that violating such a policy was a

sin and would ultimately be judged by God. Defendants’ Montana clergy were

their agents, and they did as they were instructed:

    After learning about Gunnar Hain’s sexual abuse of a minor girl in 1976 the

       Montana clergy did not report it to secular authorities and Hain went on to

       molest other young girls, including Plaintiffs in this case.

 Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                     Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                      1
       Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 9 of 33



    After learning about Bruce Mapley, Sr.’s sexual abuse of Tracey Caekaert in

       1977, the Montana clergy advised Ms. Caekaert’s mother that reporting was

       not necessary, they did not report it themselves, and Mapley, Sr. continued

       to sexually abuse the Plaintiffs for many more years.

The decisions of the Jehovah’s Witnesses’ Montana clergy to violate the MRS and

keep known child sexual abuse quiet was directed by and for the benefit of the

Defendants. Accordingly, those decisions are a valid basis for negligence per se

claims in this case and Defendants’ Motion should be denied.

                     STANDARD ON SUMMARY JUDGMENT

       “Summary judgment may properly be granted only when no genuine issue of

material fact exists and the moving party is clearly entitled to prevail as a matter of

law.” May Dept. Store v. Graphic Process Co., 637 F.2d 1211, 1214 (9th Cir.

1980) (citing Real v. Driscoll Strawberry Assocs., 603 F.2d 748, 753 (9th Cir.

1979)). “[S]ummary judgment is an extreme remedy. It should not be granted

unless the movant has established its right to judgment with such clarity as to leave

no room for controversy. It must be found that the other party is not entitled to

recover under any discernable circumstances.” Id. “The evidence is viewed ‘in the

light most favorable to the non-moving party.’” Frlekin v. Apple, Inc., 979 F.3d

639, 643 (9th Cir. 2020) (quoting Albino v. Baca, 747 F.3d 1162, 1168 (9th Cir.

2014) (en banc)). “All reasonable inferences from the evidence are drawn in favor


 Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                     Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                      2
      Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 10 of 33



of the non-moving party.” In re Agric. Research and Tech. Group, Inc., 916 F.2d

528, 534 (9th Cir. 1990) (citing Anderson v. Liberty Lobby, 477 U.S. 242, 252

(1986)).

   LAW APPLYING TO PLAINTIFFS’ NEGLIGENCE PER SE CLAIMS

       Plaintiffs’ negligence per se claims rely on two well-established principles

of tort liability in Montana:

   1. Negligence per se claims may be based on the failure to comply with the

       duties set forth in statutes like the MRS; and

   2. The knowledge, conduct, and liability of corporate agents acting within the

       course and scope of their agency is imputed to their corporate principals.

           1. Negligence per se in Montana
       “Negligence per se is simply ‘[n]egligence established as a matter of law,’

and negligence per se usually ‘arises from a statutory violation.’” Giambra v.

Kelsey, 162 P.3d 134, 144 (Mont. 2007) (quoting Black's Law Dictionary 1057

(Bryan A. Garner ed., 7th ed., West 1999)).

       One key distinction between negligence per se and ordinary
       negligence is that once a violation of a statute is proven, and the
       standards under VanLuchene [reciting the five criteria that a plaintiff
       must prove in a negligence per se case in order to prevail] are met, a
       defendant is negligent, as a matter of law. This contrasts to ordinary
       or common law negligence where the element of duty is a question of
       law, but the element of breach is generally a question of fact suitable
       for resolution by the fact finder at trial.



 Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                     Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                      3
      Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 11 of 33



Id. (quoting Estate of Schwabe v. Custer's Inn, 15 P.3d 903, 908 (Mont. 2000),

overruled on other grounds, Giambra, 162 P.3d at 147. “[T]he effect of such a

rule [negligence per se] is to stamp the defendant's conduct as negligence, with all

of the effects of common law negligence, but with no greater effect[.]” Id. (quoting

Keeton, The Law of Torts § 36, at 230). As with any negligence claim, Plaintiffs

are still required to prove causation and damages. Id.

       As early as 1913, the Montana Supreme Court recognized that plaintiffs are

permitted to use a statute to establish the duty element of negligence in what is

recognized as negligence per se:

       where a statute makes a requirement, or prohibits a thing, for the
       benefit of a person or class of persons, one injured by reason of a
       violation of it is entitled to maintain an action against him by whose
       disobedience he has suffered injury; and this is true whether the
       statute is penal or not.

Conway v. Monidah Tr. Co., 132 P. 26, 27 (Mont. 1913). More contemporarily,

the Montana Supreme Court has set forth the requirements of negligence per se in

five familiar elements:

       1. The defendant violated the particular statute.

       2. The statute was enacted to protect a specific class of persons.

       3. Plaintiff is a member of that class.

       4. Plaintiff's injury is of the sort the statute was enacted to prevent.

       5. The statute was intended to regulate members of defendant's class.

 Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                     Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                      4
         Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 12 of 33



VanLuchene v. State, 797 P.2d 932, 935 (Mont. 1990) (citing Nehring v. LaCounte,

712 P.2d 1329, 1333 (Mont. 1986)). 1

              2. Corporate principals are vicariously liable for the negligent
                 conduct of their agents.

          It is black letter law in Montana that “a principal is responsible to third

persons for the negligence of the principal’s agent in the transaction of the business

of the agency . . .” Mont. Code Ann. § 28-10-602(1); see also H-D Irrigating, Inc.

v. Kimble Properties, Inc., 8 P.3d 95, 106 (Mont. 2000); L.B. v. United States, 515

P.3d 818, 827–28 (Mont. 2022). The applicable Montana jury instruction makes

clear the conduct of the agent is deemed to be the conduct of the principal:

          Any act or omission of an agent [name of agent] is the act or omission
          of a principal [name of principal].

Mont. Pattern Instruction 2d 10.03.

          Even where an agent is not transacting the business of the principal, the

principal is still liable if it “authorized or ratified the acts.” Mont. Code Ann. § 28-

10-602(2); Peterson v. Great Falls Sch. Dist. No. 1 & A, Cascade Cnty., Mont.,

773 P.2d 316, 318 (Mont. 1989) (Where an agent performs an act which is later

ratified by their principal, that act is considered an action of the principal) (citing

Restatement of Agency 2d, § 218). The question of whether a servant was acting


1
 Defendants’ Motion only challenges Plaintiffs’ ability to satisfy the first and fifth
elements. Defs.’ Br. at 22, ECF No. 303 (all references to “Defs.’ Br.” herein are
to the ECF page designation). As such, Plaintiffs only address those two elements.
    Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                        Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                         5
          Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 13 of 33



within the scope of its agency for the purpose of vicarious liability is one for the

jury to determine. Kornec v. Mike Horse Mining & Milling Co., 180 P.2d 252, 257

(Mont. 1947); Schultz v. Brown, 256 F. 187 (9th Cir. 1919) (applying Montana law

and noting that questions about scope of agency are “to be determined by the jury

from the surrounding facts and circumstances.”).

                                              ARGUMENT

I.         The MRS is a proper statute for negligence per se.
           Not all statutes are appropriate for use as the basis of a negligence per se

claim. Because the MRS imposes duties to the benefit of a certain class of people,

and because there are no state enforcement provisions for breaches of that duty, the

MRS is precisely the type of statute that the Montana Supreme Court has endorsed

for use in a negligence per se case.

               a. The MRS is the type of statute endorsed by the Montana Supreme
                  Court for use in a negligence per se claim.
           Going back to 1913 the Montana Supreme Court identified the types of

statutory duties that may be used as the basis of negligence per se claims:

           (a) Those imposing duties to or for the benefit of the municipality or
           to the public considered as an entity. From such statutes no private
           right of action arises. (b) Those imposing duties to persons of a
           particular class. To have a right of action from such a statute one must
           clearly belong to the contemplated class. (c) Those imposing duties to
           the public, considered as a composite of individuals, in which case a
           right of action does arise in one of the public when, and only when, he
           has sustained some special injury by reason of noncompliance.


     Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                         Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                          6
       Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 14 of 33



Conway, 132 P. at 28 (internal citations omitted). Conway was a negligence per se

case where the court held the plaintiff could use a Montana statute requiring the

defendant to safely secure a mine shaft as the applicable duty for the defendant’s

conduct. Id. at 28–29. Conway has not been reversed, and in it, the court noted

that whether or not a statute could be used for negligence per se depended on “the

nature of the duty enjoined, and the benefits to be derived from its performance.”

Id. at 28.

       The proposition expressed over a hundred years ago in Conway, i.e., use of

a statute for negligence per se depends upon the duty enjoined and the benefits to

be derived from the statute’s performance, was expressed again in Doyle v Clark,

254 P.3d 570, 577 (Mont. 2011) . According to the Doyle court: “if the statute in

question may be enforced only by the state, a private individual may not attempt

to recover for violation of the statute under a negligence per se claim.” Id.

(emphasis added).

       Plaintiffs’ negligence per se claims allege that the Defendants’ Montana

clergy breached the standard of care owed to the Plaintiffs by failing to comply

with the MRS, which provided:

       Any physician who examines, attends or treats a person under the age
       of majority, or any nurse, teacher, social worker, attorney or law
       enforcement officer or any other person who has reason to believe that
       a child has had serious injury or injuries inflicted upon him or her as a
       result of abuse or neglect, or has been willfully neglected shall report
       the matter promptly to the department of social and rehabilitation
 Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                     Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                      7
         Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 15 of 33



          services, its local affiliate, and the county attorney of the county
          where the child resides.

R.C.M. § 10-1304 (emphasis added).2

          The MRS is a valid statute for use in a negligence per se claim under both

Conway and Doyle. First, the MRS fits into the category of cases recognized by

the Conway court as providing a private cause of action because it imposed a duty

“to persons of a particular class”, i.e., children who had been harmed by abuse.

132 P. at 28. Second, the MRS also satisfies Doyle because it is not a statute that is

“enforced only by the state.” 254 P.3d at 577. In fact, the MRS has no

enforcement provisions for when a person fails to report abuse of a minor. See

R.C.M. §§ 10-1301–1322.

              b. The reasoning in Doyle does not apply to the MRS because it does
                 not include enforcement provisions when a person fails to report
                 known abuse.
          Citing Doyle, Defendants ask the Court to dismiss Plaintiffs’ negligence per

claims by concluding that the MRS is not the type of statute that allows for a

private cause of action. Defendants’ position is unsupportable because the

reasoning in Doyle only applies to statutes imposing duties “enforced only by the

state.” 254 P.3d at 577. In particular, the statute at issue in Doyle was the


2
 All of Plaintiffs’ negligence per se claims are based on the failure of Defendants’
Montana clergy to report Hain and Mapley, Sr. to secular authorities while R.C.M.
§ 10-1304 was in effect. No claims of negligence per se are alleged under
subsequent mandatory reporting statutes.
    Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                        Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                         8
      Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 16 of 33



Recycling and Disposal Act (MVRDA), which imposed duties on landowners

regarding storage of junk. Id. at 573. Importantly, the MVRDA explicitly

delegated both criminal and administrative enforcement for violations of those

duties directly to the state. Id. at 577. The MVRDA contained a “Penalties”

section that set forth criminal and administrative consequences for violating its

provisions and expressly stated: “The penalties provided for in this section are

recoverable in an enforcement or collection action brought by the department.”

Mont. Code Ann. § 75-10-542(3). It was precisely because the MVRDA provided

state enforcement of the junk storage duties in the MVRDA that the Doyle court

determined it could not be used in a negligence per se claim. Id. at 577.

       Unlike the MVRDA, the MRS has no enforcement provisions for when a

person failed to properly report known child abuse to secular authorities. There are

no penalty provisions in the MRS if a person fails to report abuse and there are no

state actors authorized to enforce a failure to report child abuse as required by the

MRS. See R.C.M. §§ 10-1301–1322. None of the statutory enforcement

provisions which rendered the MVRDA unfit for a negligence per se claim in

Doyle exist in the MRS.

       Rather than acknowledge that the MRS has no state enforcement provisions

when a person breached the duty to report sexual abuse, Defendants reference

numerous, irrelevant R.C.M. sections. For instance:

 Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                     Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                      9
      Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 17 of 33



    Defendants cite a social worker’s duty to investigate reports of known child

       abuse, R.C.M. § 10-1305.

    Defendants cite the county attorneys’ duty to file petitions alleging abuse,

       R.C.M. § 10-1310.

    Defendants cite the duty of various state agencies to provide for protective

       services, R.C.M. § 10-1315.

Defs.’ Br. at 14. None of the provisions authorize the state to enforce violations of

the mandatory reporting requirement in the MRS. Defendants cannot point the

Court to a single enforcement provision that the state may employ if a person

violated the duty to report known child abuse to secular authorities. That is

because there are none, and the reasoning in Doyle does not apply to this case.

           c. Defendants are asking this Court to apply law unrelated to
              negligence per se to Plaintiffs’ negligence per se claim.
       Separate and apart from negligence per se, Montana law recognizes a

distinct cause of action that permits private individuals to enforce certain types of

statutes against other parties. See e.g. Wombold v. Associates Fin. Services Co. of

Montana, Inc., 104 P.3d 1080, 1085 (Mont. 2004), overruled on other grounds,

Essex Ins. Co. v. Moose's Saloon, Inc., 166 P.3d 451 (Mont. 2007) (quoting

Cannon v. Univ. of Chicago, 441 U.S. 677, 694 (1979)); Mark Ibsen, Inc. v. Caring

for Montanans, Inc., 371 P.3d 446, 452 (Mont. 2016); Larson v. State By and

Through Stapleton, 434 P.3d 241, 255 (Mont. 2019); Faust v. Util. Sols., LLC, 173

 Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                     Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                     10
      Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 18 of 33



P.3d 1183, 1185 (Mont. 2007). In these types of cases, rather than filing a

negligence per se claim, the plaintiff files a claim under the authority of a statute

seeking to enforce that statute against someone else. Id. These are not negligence

per se cases.

       Defendants wrongly ask this court to apply these private enforcement of

statute cases to Plaintiffs’ negligence per se claims. Defs.’ Br. at 12–22. But this

case is not a private enforcement of statute case because Plaintiffs have not filed

claims under the authority of the MRS seeking to enforce the mandatory reporting

requirement against the Defendants, i.e., Plaintiffs are not seeking an order

requiring Defendants to make a report about Hain and Mapley, Sr.. Such a claim

would be useless at this point because both Hain and Mapley Sr. already engaged

in additional child sexual abuse. The Court should not apply the private

enforcement of statute cases cited by Defendants to Plaintiffs’ negligence per se

claims because there is no legal basis to do so, and it would constitute plain error.

       However, even if the private enforcement of statute cases applied to

Plaintiffs’ negligence per se claims the outcome would be the same. In particular,

when the statutes in those cases left a gap in their means of enforcement, like the

MRS here, the claims were deemed valid. As the Montana Supreme Court noted

in Larson:

       the Legislature is presumed as a matter of law to be “aware of the
       doctrine of implied statutory causes of action” when it acts. In order
 Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                     Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                     11
         Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 19 of 33



          to avoid a “meaningless” construction of a statute, courts must
          presume that the Legislature would not enact a statute protecting or
          benefitting “an identifiable class without enabling members of th[e]
          class to enforce” the rights or protections afforded by the statute.

434 P.3d at 256 (quoting Wombold, 104 P.3d at 1085). In such cases, “Without an

implicit creation of a remedy, the statute is meaningless.” Wombold, 104 P.3d at

1085. As such, if the Court is inclined to graft the private enforcement of statute

analysis on to Plaintiffs’ negligence per se claims, to avoid the absurd and

meaningless result of a duty without a remedy, the Court should interpret the MRS

as providing a valid basis for Plaintiffs’ negligence per se claims.

II.       Defendants can be held vicariously liable for the negligence per se of
          their designated agents in Montana. 3

          It is black letter law that corporate principals, like the Defendants, are liable

for the negligence of their agents. Mont. Code Ann. § 28-10-602; H-D Irrigating,

8 P.3d at 106 (“A principal is liable for wrongs committed by an agent while the



3
  For purposes of their Motion, Defendants do not contest that at all relevant times
their designated Montana clergy (local elders and traveling overseers) were
Defendants’ agents acting within the course and scope of their agency. For
instance, there is no argument in Defendants’ brief regarding agency or scope of
agency, and there are no alleged “undisputed facts” regarding agency of scope of
agency in Defendants’ Statement of Undisputed Facts. Rather, Defendants
maintain the arguments in their brief entitle them to relief, assuming arguendo,
their officials were agents acting within the course and scope of their agency.
Defs.’ Br. at 23, 25. Nevertheless, in the event Defendants argue on Reply that
Plaintiffs cannot prove agency, Plaintiffs’ Statement of Disputed Facts includes
citation to some of the evidence that does so. Plfs.’ Statement of Disp. Facts, ¶¶ 1–
4 (hereinafter “SDF”).
    Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                        Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                        12
      Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 20 of 33



agent acts within the scope of his employment.”). The law recognizes such

vicarious liability because “when the servant acts it is as if the master were acting.”

Kornec, 180 P.2d at 256. Vicarious liability is based on the idea that a servant is in

such close relation to, and under such control of, its principle that its wrongful

conduct is effectively that of the principle. Restatement (Second) of Agency § 219

(1958) (Cmt. On Subsection (1)); 57B Am. Jur. 2d Negligence § 1018. The

Montana Supreme Court has noted that vicarious liability for tortious conduct is

“especially applicable ‘where the master is absent’”. Staff v. Montana Petroleum

Co., 291 P. 1042, 1045 (Mont. 1930).

       a. If Plaintiffs prove that Defendants’ Montana clergy were negligent
          per se for violating the MRS that negligence is imputed as a matter
          of law to the Defendants.
       Defendants’ Motion asks this Court to ignore Montana's vicarious liability

and agency law. There is no basis for the Court to do so. That law exists, the

MRS does not abrogate that law, and it applies to Plaintiffs’ negligence per se

claims. Therefore, if Plaintiffs can prove that Defendants’ agents were negligent

per se then the Defendants are liable for that tortious conduct.

       Corporations can only act through their agents, they are deemed to have the

knowledge of their agents, and they are liable for the tortious acts and omissions of

their agents. Maki v. Anaconda Copper Mining Co., 287 P. 170, 173 (Mont. 1930);

see also Daly v. Swift 7 Co., 300 P. 265, 268 (Mont. 1931); Mont. Code Ann. § 28-


 Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                     Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                     13
      Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 21 of 33



10-602; Mont. Pattern Instruction 2d 10.03; Stricker v. Blaine Cnty., 453 P.3d 897,

902 (Mont. 2019); Dick Irvin Inc. v. State, 310 P.3d 524, 532 (Mont. 2013); H-D

Irrigating, 8 P.3d at 106; Peterson, 773 P.2d at 318. The applicable Ninth Circuit

jury instruction echoes this same principle:

       Under the law, a corporation is considered to be a person. It can only
       act through its employees, agents, directors, or officers. Therefore, a
       corporation is responsible for the acts of its employees, agents,
       directors, and officers performed within the scope of authority.

4.2 Liability of Corporations – Scope of Authority Not in Issue, Manual of Model

Civil Jury Instructions for the District Courts of the Ninth Circuit.

        Here, the Plaintiffs’ evidence establishes that the Defendants trained and

instructed their Montana clergy to keep the child sexual abuse committed by Hain

and Mapley, Sr. secret rather than to report it to secular authorities. SDF ¶¶ 3, 4c,

4d, 5, 6. Defendants’ Montana clergy did as they were trained and instructed in

violation of their duty to the Plaintiffs under the MRS. SDF ¶¶ 9, 15. This

conduct constitutes negligence per se and as a matter of law that conduct is deemed

to be the conduct of the Defendants. Mont. Code Ann. § 28-10-602; Mont. Pattern

Instruction 2d 10.03; Stricker, 453 P.3d at 902; Dick Irvin, 310 P.3d at 532; H-D

Irrigating, 8 P.3d at 106; Peterson, 773 P.2d at 318.




 Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                     Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                     14
       Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 22 of 33



            b. Violations of the MRS by Defendants’ Montana clergy is imputed
               to the Defendants.

        Defendants argue that Plaintiffs’ negligent per se claim should be dismissed

because they cannot prove that Defendants violated the MRS. Defs.’ Br. at 22.

Defendants’ argument misconstrues Plaintiffs’ claim and ignores Montana's

vicarious liability and agency law. See generally, Mont. Code Ann. § 28-10-602.

The proper question is whether Plaintiffs can prove that Defendants’ agents

violated the MRS. If Plaintiffs prove that violation, then that conduct is imputed to

the Defendants under principles of vicarious liability and agency. Mont. Code

Ann. § 28-10-602; Mont. Pattern Instruction 2d 10.03; Stricker, 453 P.3d at 902;

Dick Irvin, 310 P.3d at 532; H-D Irrigating, 8 P.3d at 106; Peterson, 773 P.2d at

318.

///

///

///

///

///

///

///

///

///

  Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                      Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                      15
         Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 23 of 33



          Here, Plaintiffs can establish that Defendants’ Montana clergy knew about

Hain and Mapley, Sr.’s sexual abuse of minors and failed to report it to the

Montana department of social and rehabilitation services in violation of the MRS.

SDF ¶¶ 8, 9, 14, 15. This constitutes a violation of the MRS and under applicable

law this violation is imputed to the Defendants. Mont. Pattern Instruction 2d

10.03; Mont. Code Ann. § 28-10-602(1).4

              c. The MRS regulated Defendants through their agents.
          Defendants argue that Plaintiffs’ negligence per se claim should be

dismissed because the MRS does not regulate corporations. While Plaintiffs do not

concede that the MRS does not regulate corporations, Defendants again

misconstrue the nature of Plaintiffs’ negligence per se claim, which alleges

Defendants are vicariously liable for the tortious conduct of their Montana clergy.

Thus, the relevant question is whether the MRS was intended to regulate the

conduct of Defendants’ designated Montana clergy, who knew about Hain and

Mapley, Sr.’s sexual abuse of minors but chose not to report it? The answer is

clearly, “yes” because the MRS regulates any person who had reason to believe a




4
  Plaintiffs can also establish that the Defendants ratified the decision of their
Montana agents not to report Hain’s and Mapley, Sr.’s child sexual abuse because
that is exactly what the Defendants taught them to do. See Mont. Code. Ann. § 28-
10-602(2).

    Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                        Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                        16
        Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 24 of 33



minor had been injured by the sexual abuse of Hain and Mapley, Sr. R.C.M. § 10-

1304.

        Defendants also fail to recognize that the term “person” in the MRS includes

corporations. Mont. Code Ann. § 1-1-201 (1976) (definition of “person” in the

Montana code includes corporations); see also SJL of Montana Assocs. Ltd. P’ship.

v. City of Billings, 867 P.2d 1084, 1087 (1993) (“when a word is defined in the

code, that definition is applicable to other parts of the code except where the

contrary is plainly indicated.”). The applicable Ninth Circuit pattern instruction

leads to the same conclusion, noting that “[u]nder the law, a corporation is

considered to be a person.” Manual of Model Civ. Jury Instrs., 4.2 Liability of

Corporations – Scope of Authority Not in Issue. Thus, with regard to the MRS, the

Court may certainly conclude that Defendants are “persons” who had knowledge

of reportable abuse through the knowledge of their designated Montana clergy, and

they are therefore within the classification regulated by the MRS. See Palmer v.

Great N. Ry. Co., 170 P.2d 768, 775–76 (Mont. 1946) (a corporation is charged

with knowledge of all material facts acquired by its agents acting in the scope of

their authority).




 Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                     Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                     17
      Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 25 of 33



           d. Cooper does not apply because Defendants’ Montana clergy chose
              not to report Hain and Mapley, Sr. at the direction of the
              Defendants.
       Defendants ask the court to rely on an Arkansas case, Cooper Clinic, P.A. v.

Barnes, , as a basis for dismissing Plaintiffs’ negligence per se claims. Defs.’ Br.

at 25 (citing 237 S.W.3d 87, 91–93 (Ark. 2006)). As an initial matter, Defendants

fail to establish how or why courts applying Montana law should be bound by an

Arkansas case. But more importantly, a close look at Cooper reveals that the

vicarious liability reasoning does not apply to this case.

       In Cooper, the Arkansas Supreme Court determined that a health clinic was

not vicariously liable for the decision of a doctor who failed to report suspected

child abuse because the doctor’s decision was deemed outside of the “object and

purpose” of the doctor’s employment at the clinic. 237 S.W.3d at 93 (Ark. 2006).

In coming to its vicarious liability conclusion, the Cooper court specifically found

that the doctor’s decision not to report was made “exclusively in [her] interest” and

not the clinic’s interest.

       In contrast to Cooper, the evidence in this case is that Defendants trained

and instructed their Montana agents to keep their knowledge of Hain’s and

Mapley, Sr.’s child sexual abuse secret. SDF ¶¶ 3, 4c, 4d, 5, 6. The factual

distinction is critical because the Cooper court’s vicarious liability conclusion was

based solely on the factual determination that when the doctor chose not to report


 Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                     Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                     18
         Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 26 of 33



she was acting purely in her own interest and not that of the clinic’s. That is

definitively not the case here, where Defendants’ Montana clergy chose not to

report because they were instructed to keep knowledge of abuse by Hain and

Mapley, Sr. confidential. Thus, when Defendants’ Montana clergy chose not to

report Hain and Mapley, Sr. to secular authorities they were directly serving the

Defendants’ interests. 5 Thus, the reasoning applied by the Cooper court does not

apply to Plaintiffs’ vicarious liability claims in this case.

              e. Duties owed to the Plaintiffs under the MRS.
          Defendants’ Brief wrongly states that “[t]he Court should grant summary

judgment to WTNY and WTPA because the reporting statute does not create

vicarious liability.” Defs.’ Br. at 27. The MRS did not need to “create” vicarious

liability because vicarious liability exists in Montana independent from the MRS.

Mont. Code Ann. § 28-10-602; Mont. Pattern Instruction 2d 10.03; Stricker, 453


5
  Plaintiffs searched and did not find Montana cases discussing the vicarious
liability of a principal for the negligence per se of an agent who violates a
mandatory reporting statute. However, a Michigan case is instructive as to how the
issue would be resolved under Montana law. In Lee v. Detroit Medical Center,
285 Mich. App. 51, 775 N.W.2d 326 (2009), the Michigan intermediate appellate
court concluded that where a mandatory reporting statute did not explicitly abolish
the already established, independent legal doctrine of vicarious liability, it could
not do so by implication. 775 N.W.2d 326, 255 (Mich. 2009). The same principle
holds true in Montana. Vicarious liability is an independently established legal
doctrine by which Plaintiffs can hold Defendants liable for the tortious conduct of
their agents. Here, the Defendants fail to provide any legal support for their
argument that vicarious liability law in Montana does not apply to Plaintiffs’
negligence per se claims.
    Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                        Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                        19
      Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 27 of 33



P.3d at 902; Dick Irvin, 310 P.3d at 532; H-D Irrigating, 8 P.3d at 106; Peterson,

773 P.2d at 318. The MRS did not abolish vicarious liability. Strzelczyk v. Jett,

870 P.2d 730, 732 (Mont. 1994) (the Montana Supreme Court will not read things

into statutes that are not there).

       As a result, the question is whether the MRS placed a duty on the

Defendants’ Montana clergy who learned that Hain and Mapley, Sr. had sexually

abused minors. There is no question that it did so; the MRS placed an affirmative

duty on any person who learned that a minor had been injured by abuse to report it

to secular authorities. R.C.M. 10-1304.

           f. The statute reviving Plaintiffs’ claims has no bearing on the
              question before the Court.

       In 2019, the Montana legislature passed a law reviving child sexual abuse

claims against:

       any entity that owed a duty of care to the plaintiff, where a wrongful or
       negligent act by an employee, officer, director, official, volunteer,
       representative, or agent of the entity was a legal cause of the childhood
       sexual abuse that resulted in the injury to the plaintiff.

Mont. Code Ann. § 27-2-216(3). Thus, for Plaintiffs’ claims to be revived under

Section 27-2-216(3), Plaintiffs must show that: (1) the Defendants are an entity

that owed them a duty of care; and (2) that a wrongful or negligent act by

Defendants’ agent was the legal cause of childhood sexual abuse resulting in an

injury.


 Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                     Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                     20
      Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 28 of 33



       Section 27-2-216(3) does not affect or implicate whether Plaintiffs’

negligence per se claims are recognized by Montana law. To the extent

Defendants imply that Plaintiffs must satisfy Section 27-2-216(3) in order to

pursue any claims in this case, they fail to make such argument or allege

undisputed facts entitling them to such relief. Nevertheless, Plaintiffs can certainly

satisfy Section 27-2-216(3).

       First, Defendants trained and instructed their Montana clergy to intercede

and handle any problems in the lives of congregation members, including handling

reports of child molestation. SDF ¶¶ 3, 4c, 4d, 5, 6. Defendants then trained and

instructed those Montana clergy to keep reports of child sexual abuse confidential

which permitted both Hain and Maply, Sr. to continue sexually abusing minors in

Hardin, including Plaintiffs. SDF ¶¶ 3, 4c, 4d, 5, 6. By virtue of doing so, the

Defendants chose to accept the duty to protect Plaintiffs from known child

molesters Hain and Mapley, Sr. See, e.g., Maryland Casualty Co. v. Asbestos

Claims Court, 460 P.3d 882, 894 (Mont. 2020) (a defendant owes the plaintiff a

duty of care if the harm at issue is “reasonably foreseeable under the circumstances

and it comports with public policy). Second, Plaintiffs can prove that Defendants’

agents acted wrongfully and negligently when they failed to take action to protect

Plaintiffs from known child molesters Hain and Mapley, Sr., and that this conduct

was the cause of childhood sexual abuse and injury. SDF ¶¶ 8–16.

 Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                     Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                     21
       Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 29 of 33



III.   Defendants’ Proximate Cause Argument Is Not a Valid Basis for
       Summary Judgment.

       Defendants argue that they are entitled to summary judgment on Plaintiffs’

negligence per se claims because “Plaintiffs do not allege that Gunner Haines

abused them after he confessed to the elders.” Defs.’ Br. at 28. To begin with,

Defendants’ argument does not seek dismissal of negligence per se claims based

on the failure to report Mapley, Sr. Thus, Defendants’ proximate cause argument

is limited only to Hain’s sexual abuse. More fundamentally, questions of causation

are questions of fact and are not susceptible to summary judgment. Craig v.

Schell, 975 P.2d 820, 822 (1999). That principle is especially true here.

       a. Defendants’ Montana Clergy Had a Reason to Report Hain under
          the MRS no later than 1976
       Defendants are not entitled to summary judgment on proximate cause

related to Hain’s abuse because they do not establish an undisputed date that their

Montana clergy had reason to report Hain under the MRS. Instead, they refer to an

allegation in Plaintiffs’ Complaint that Hain confessed “around 1979.” ECF No.

304 at ¶ 7. First, this is not an accurate recitation of Plaintiffs’ Complaint. ECF

No 22 at ¶ 39. But even if it was, it does not create an undisputed fact about when

Defendants’ Montana clergy had a duty to report Hain.

       In truth, Plaintiffs do not know – and Defendants do not assert - the first date

that Defendants’ Montana clergy “had reason” to report Hain to secular authorities


 Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                     Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                     22
         Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 30 of 33



for sexually abusing minor girls in the Hardin Congregation because Defendants

insist on withholding this information from Plaintiffs. SDF ¶ 17. Defendants are

not permitted to withhold what they know about when their Montana clergy first

learned of Hain’s sexual abuse and then use Plaintiffs’ lack of knowledge of these

dates as a sword to try and escape liability. Bittaker v. Woodford, 331 F.3d 715,

719 (9th Cir. 2003).6

          Moreover, Plaintiffs’ evidence establishes that Defendants’ Montana clergy

had reason to report Hain as early as 1974, and no later than 1976. SDF ¶ 8. This

predates his abuse of both Plaintiffs. SDF ¶¶ 10, 11. Therefore, Plaintiffs’ can

establish proximate cause and Defendants’ argument has no merit on summary

judgment.

IV.       Additional Basis to Deny Defendants’ Motion

          There are additional reasons for the Court to deny or delay resolution of

Defendants’ Motion.




6
 As stated in Bittaker, such use of privileged evidence is specifically prohibited by
the “fairness principle” which provides that parties who may enjoy the ability to
exercise a privilege get a choice to either: (1) exercise that privilege; or (2) make
arguments that rely on the privileged information, but they don’t get to do both
because it would obviously be unfair to allow a party to withhold evidence and
then pursue a dispositive outcome based on the absence of that evidence.
    Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                        Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                        23
      Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 31 of 33



       a. Defendants are not entitled to withhold material evidence and make
          arguments for dispositive relief implicating that evidence.

       Defendants continue to withhold material evidence regarding the sexual

abuse that is at issue in this case, including evidence that may bear on what

Defendants knew and when they knew it. For instance, WTNY is withholding

numerous documents pertaining to the sexual abuse perpetrated by Hain and

Mapley, Sr. SDF ¶ 17. Even in documents that they were forced to produce

WTNY is still withholding material evidence through redactions. SDF ¶ 17. The

same is true of documents Plaintiffs sought from the Hardin Congregation. SDF ¶

17.

       Basic principles of fairness have been adopted by courts to prevent parties

from simultaneously withholding material evidence and pursuing arguments that

implicate such evidence. Bittaker, 331 F.3d at 719. Here, Defendants ask the

Court to dismiss Plaintiffs negligence per se claim arguing that Plaintiffs cannot

prove that they were abused after the duty to report Hain to secular authorities

arose. Defs.’ Br. at 28. This argument directly implicates the details of when

Plaintiffs were abused by Hain, and when the Defendants’ Montana clergy had

reason to report Hain to secular authorities. To the extent that any of the evidence

still being withheld by Defendants bears on these factual questions, Defendants

either need to produce it or abandon their argument. The law does not permit



 Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                     Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                     24
      Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 32 of 33



Defendants to pursue dispositive relief or make arguments implicating the

evidence that they refuse to produce. Bittaker, 331 F.3d at 719.

           b. Defendants sanctionable conduct, including spoliation of evidence.

       Plaintiffs anticipate filing one or more motions by the dispositive motion

deadline (April 12, 2024) seeking relief for sanctionable conduct, including relief

for the spoliation of evidence that may bear on what Defendants and their Montana

clergy knew about the sexual abuse at issue in this case and when they knew it.

Plaintiffs therefore request that the Court withhold consideration of Defendants’

present Motion until Plaintiffs’ anticipated motion(s) are before the Court.

                                         CONCLUSION
       Defendants trained and instructed their Montana clergy to keep information

about Hain’s and Mapley, Sr.’s sexual abuse of minors confidential. Following

this guidance, Defendants’ Montana clergy chose not to report Hain and Mapley,

Sr. to Montana secular authorities. This breached a clear statutory duty owed to

the Plaintiffs to protect them from Hain’s and Mapley, Sr.’s abuse and constitutes

negligence per se. Under Montana law, Plaintiffs’ claims are valid, and

Defendants’ Motion should be denied.

       DATED this 6th day of February, 2024.

                                       By: /s/ Ryan Shaffer
                                           Ryan R. Shaffer
                                           MEYER, SHAFFER & STEPANS PLLP
                                           Attorneys for Plaintiffs

 Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                     Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                     25
      Case 1:20-cv-00052-SPW Document 319 Filed 02/06/24 Page 33 of 33



                          CERTIFICATE OF COMPLIANCE

       Pursuant to Local Rule 7.3(d)(2), Plaintiff hereby certifies that this brief

complies with the length requirement for briefs, and that this brief contains 6,119

words, excluding the caption, certificates of service, and compliance, table of

contents, and authorities, and exhibit index.

                                       By: /s/ Ryan Shaffer
                                           Ryan R. Shaffer
                                           MEYER, SHAFFER & STEPANS PLLP

                                            Attorneys for Plaintiffs

                              CERTIFICATE OF SERVICE

       Pursuant to Local Rule 1.4, this document has been served on all parties via

electronic service through the Court’s Case Management/Electronic Case Filing

(CM/ECF) system.

                                       By: /s/ Ryan Shaffer
                                           Ryan R. Shaffer
                                           MEYER, SHAFFER & STEPANS PLLP

                                             Attorneys for Plaintiffs




 Plaintiffs’ Brief in Response to Defendants’ Motion for Partial Summary Judgment re: Negligence Per Se
                     Caekaert and Mapley v. Watchtower Bible Tract of New York, Inc., et. al.
                                                     26
